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AT CHARLOTTESVILE, VA

FILED
UNITED STATES DISTRICT COURT NOV 2 8 2018
WESTERN DISTRICT OF VIRGINIA . wuy DMBLEY, CLERK
DANVILLE DIVISION ‘ , Rk
NOVEMBER 2018 SESSION
UNITED STATES OF AMERICA ) INDICTMENT
) |
v. ) Criminal No. ./ g “C1-00033
) ‘ é
-CARL RAY KENNEDY ) 18 U.S.C. §§ 2262(a)(1) and 2262(b)(3)
COUNTONE _
The Grand Jury charges:
1. That on or about June 3, 2018, in the Western Judicial District of Virginia and

elsewhere, the defendant, Carl Ray Kennedy, traveled in interstate commerce from North Carolina
to Virginia, with the intent to engage in conduct that would violate the portion of a Family Abuse
protective order, issued in May 2018 by the Pittsylvania County, Virginia, Juvenile and Domestic
Relations Court that prohibited all contact and communication (except for certain limited email
contact) with K.W., and did subsequently engage in personal and physical contact, and
communication, with K.W., and further did, during the offense, use a dangerous weapon.

2. Allin violation of Title 18, United States Code, Sections 2262(a)(1) and 2262(b)(3).

s/GRAND JURY FOREPERSON
GRAND JURY FOREPERSON

OMAS T. CULLEN

UNITED STATES ATTORNEY

USAO No. 2018R00316

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